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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )                 4:08CR3059
           v.                       )
                                    )
JAYRO A. FLORES,                    )
                                    )          MEMORANDUM AND ORDER
                  Defendant.        )
                                    )



      A hearing was held before me this date on allegations made in
the petition for action on conditions of pretrial release, filing
53.   The defendant was present with counsel, and was advised of
his rights.     The defendant stood mute, which I therefore took as a
denial.   Evidence was adduced from which I find that the
allegation of violation of the order of release is true.


      Regarding disposition, the government sought detention.              The
defendant proposed release to a half-way house situation or
environment.     I conclude that detention is appropriate.


      IT THEREFORE HEREBY IS ORDERED,

     1. The previous order of release, filing 18, is revoked, and
the defendant shall be detained in the custody of the United
States Marshal until further order.

     2. Pretrial Services shall obtain the report of the
substance abuse evaluation previously conducted and provide copies
to the court and counsel.


      DATED September 25, 2008.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
